                           UNITED STATES BANKRUPTCY COURT
                            EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION–FLINT


In re:                                                       Case No. 16-30194

TERESA MARY WILLERT,                                         Chapter 13

       Debtor.                                               Hon. Daniel S. Opperman
_____________________________________/
GARTH MCCOMB, SR., Successor Personal
Personal Representative of the Estate of
Mabel I. Willert, Deceased, and
JAMES TREMBLEY, Attorney for the Estate
of Mabel I. Willert, Deceased,

         Plaintiffs,

v.                                                           Adv. Proc. No. 16-3034

TERESA MARY WILLERT,

      Defendant.
_____________________________________/


               OPINION REGARDING EFFECT OF STATE COURT JUDGMENT
                         ON THIS ADVERSARY PROCEEDING


                                      Background and Facts

         This is a nondischargeability action brought by Plaintiffs Garth McComb, Sr., as

Successor Personal Representative of the Estate of Mabel I. Willert, Deceased, and James

Trembley, attorney for the Estate of Mabel I. Willert, Deceased. This action is brought pursuant

to 11 U.S.C. § 523(a)(4), asserting that Defendant Teresa Willert, then daughter-in-law of Mabel

Willert, during her service as the predecessor personal representative “illegally took funds from

the Estate for her personal use” thereby committing fraud or defalcation while acting in a

                                                 1



     16-03034-dof      Doc 64   Filed 06/02/17    Entered 06/02/17 10:20:00       Page 1 of 11
fiduciary capacity. Plaintiffs do not allege embezzlement or larceny. The Plaintiffs base this

action on an order entered in December 2015 by the Genesee County Probate Court (“Probate

Court”), finding that Defendant had violated her fiduciary duty to Mabel Willert, which ordered

Defendant to pay the probate estate a total of $53,486.33. This order followed a bench trial

before Genesee County Probate Judge Jennie Barkey, regarding Defendant’s alleged breach of

fiduciary duty while serving as Mabel Willert’s attorney-in-fact.

        On July 10, 2008, Mabel Willert executed a durable power of attorney appointing

Defendant as her attorney-in-fact. The Probate Court then appointed Defendant guardian for

Mabel Willert, due to Mabel’s mental deficiency and physical illness. Mabel Willert died in

April 2013, and Defendant was appointed as the Personal Representative for her probate estate

on October 28, 2013. Subsequently, in January 2014, the Probate Court granted a petition to

have Defendant removed as Personal Representative. The Probate Estate, through successor

Personal Representative Garth McComb, Sr., and the attorney for the Probate Estate, James

Trembley, filed a petition against Defendant to recover funds based upon her alleged conversion,

embezzlement, and breach of fiduciary duty.

        Additionally, the Michigan Department of Community Health filed a claim against the

Probate Estate in an amount that corresponds to the sum Defendant allegedly failed to report in

her duties as Mabel Willert’s attorney-in-fact. This claim contributed to the Probate Court’s

finding of liability against Defendant, although it is not clear to what extent. It is clear that after

the non-jury trial in state probate court, it was found that Defendant was liable to the Probate

Estate for breaching her fiduciary duty.

        Defendant thereafter filed a Chapter 13 bankruptcy petition on January 31, 2016, listing a


                                                   2



  16-03034-dof       Doc 64     Filed 06/02/17      Entered 06/02/17 10:20:00         Page 2 of 11
non-priority unsecured debt owing to the Estate of Mabel Willert in the amount of $69,800,

describing such as a “Judgment for mismanaging Adult Guardianship of Mother In Law, now

deceased.” Defendant also listed a priority unsecured debt owing to the Michigan Department of

Health and Human Services in the amount of $7,100.00, for “Overpayment of Medicaid Issue for

Adult Guardianship.”

       On March 17, 2016, Plaintiffs filed the instant adversary proceeding, and on August 7,

2016, Plaintiffs filed a motion for summary judgment, basing such upon the state court record

and presenting three orders from the probate court. Plaintiffs also presented numerous requests

for admission that were directed at Defendant in the probate matter. Defendant did not respond

to these requests, and the probate court therefore deemed them admitted for purposes of that

litigation. Plaintiffs also provided a transcript of what appeared to be the last hearing or last day

of trial in the probate court. The Probate Judge stated at the beginning of that transcript that the

purpose of that hearing was to discuss damages and attorney’s fees. Thus, the Probate Court

found that liability was not the focus for that hearing. The same conclusion was reached after

review of other DVDs–liability could not be conclusively established from a review of these

hearings. The only conclusion the Court can draw at the summary judgment stage is that a

judgment was entered against Defendant, after the Probate Court noted that Defendant was guilty

of poor bookkeeping, and that the Probate Court declined to award treble damages. These

inconclusive findings were problematic for this Court as noted previously in its bench opinion

denying Plaintiff’s Motion for Summary Judgment, and, for the reasons detailed below,

continues to be problematic.

       After summary judgment was denied, both Plaintiffs and Defendants have filed


                                                  3



  16-03034-dof      Doc 64     Filed 06/02/17      Entered 06/02/17 10:20:00         Page 3 of 11
Affidavits, Supplemental Briefs and additional exhibits to such in support of their respective

positions and “to narrow the issues for litigation through collateral estoppel determinations on

various issues already litigated in the concluded state court proceedings.” (Plaintiffs’

Supplemental Brief, Docket No. 54).

       Attached to the Supplemental Briefs, the parties attached the following additional

exhibits:

       (1) Affidavit of James Trembley, filed on January 6, 2017 (Docket #54), attesting to the
       allegations in Plaintiffs’ Complaint, as well as referencing and attaching:

               (a) Request for Admission of Genuineness of Documents filed, filed by Garth
               McComb, Sr., in Probate Court, dated June 25, 2014;
               (b) Supplemental Request for Admission of Genuineness of Documents, filed by
               Garth McComb, Sr., in Probate Court, dated December 22, 2014;
               (c) Copy of front and back of check dated May 29, 2008 from Mabel Willert to
               Teresa Willert in the amount of $10,000.00;
               (d) Receipt of Certificate of Deposit withdrawal signed by Teresa Willert dated
               December 22, 2010, in the amount of $12,006.34;
               (e) Deposit receipt into joint account at Citizens Bank of Mabel Willert and
               Teresa Willert showing a deposit of the $12,006.34 on December 22, 2010;
               (f) Inventory Form filed in Probate Court signed by Teresa Willert on July
               1,2011, attaching supporting documents;
               (g) a bank envelope with Teresa Willert’s handwritten notes of what she put in
               Mabel Willert’s wallet for a trip to Florida in December 2010, totaling $1,128.00,
               $550.00 consisted of traveler’s checks;
               (h) Medicaid Application dated December 21, 2012, signed by Teresa Willert on
               behalf of Mabel Willert;
               (I) Subsequent Medicaid Application dated February 3, 2013, signed by Teresa
               Willert on behalf of Mabel Willert;
               (j) Subpoena in the Probate Court matter issued to FirstMerit Bank dated August
               8, 2013, regarding Mabel Willert’s accounts;
               (k) Summary prepared by Trembley Law Office of one joint checking account,
               two joint savings accounts, and one joint Certificate of Deposit account; and
               (l) Statement and Proof of Claim filed in Probate Court dated November 8, 2013.

       (2)     Defendant Teresa Willert’s Responsive Brief, signed and notarized by Teresa
               Willert, filed on February 17, 2017 (Docket #62); and

       (3)     Supplemental Affidavit of James Trembley filed on February 28, 2017 (Docket

                                                 4



  16-03034-dof      Doc 64     Filed 06/02/17     Entered 06/02/17 10:20:00        Page 4 of 11
               #63), referencing and offering further argument regarding Exhibits attached to
               January 6, 2017, Affidavit, and attaching two additional exhibits:

               (a) Durable Power of Attorney dated July 10, 2008, signed by Mabel Willert,
               designating Teresa Willert as her Attorney in Fact; and
               (b) Petition for Appointment of Guardian of Incapacitated Individual, signed by
               Teresa Willert as petitioner, dated January 18, 2011, as well as signed by Mabel
               Willert, nominating Teresa Willert as guardian.

       The Court conducted status conferences following its bench ruling on Plaintiffs’ Motion

for Summary Judgment on December 14, 2016, January 11, 2017, January 31, 2017, February

22, 2017, March 1, 2017, and March 8, 2017. The Court also held a hearing on Defendant’s

motion for a jury trial on January 11, 2017, which the Court denied, as was memorialized in an

Order denying that motion entered the same day.

                                             Jurisdiction

       This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 1334 and 157(a).

This is a core proceeding under 28 U.S.C. § 157(b)(2)(I) (determinations as to the

dischargeability of particular debts).

                                                 Law

       A. Section 523(a)(4)

       First, Plaintiffs’ Complaint does not allege facts concerning embezzlement or larceny.

Thus, the Court’s focus will be on “fraud or defalcation while acting in a fiduciary capacity.

       Section 523(a)(4) excepts from discharge a debt “for fraud or defalcation while acting in

a fiduciary capacity, embezzlement, or larceny . . . .” The Sixth Circuit has held that § 523(a)(4)

requires:

       (1) a fiduciary relationship
                (a) in the form of an express trust or
                (b) technical trust relationship;

                                                  5



  16-03034-dof      Doc 64     Filed 06/02/17      Entered 06/02/17 10:20:00       Page 5 of 11
        (2) breach of that fiduciary relationship; and
        (3) a resulting loss.

R.E. America, Inc. v. Garver (In re Garver), 116 F.3d 176, 178-79 (6th Cir. 1997); see also Patel

v. Shamrock Floorcovering Services, Inc. (In re Patel), 565 F.3d 963 (6th Cir. 2009); In re

Johnson, 691 F.2d 249, 251-52 (6th Cir. 1982) (finding that fiduciary capacity “applies only to

express or technical trusts and does not extend to implied trusts, which are imposed on

transactions by operation of law as a matter of equity” and “the requisite trust relationship must

exist prior to the act creating the debt and without reference to it”) (citations omitted).

        To establish the existence of an express trust, the plaintiff “must demonstrate: (1) an

intent to create a trust; (2) a trustee; (3) a trust res; and (4) a definite beneficiary.” In re Patel,

565 F.3d at 968 (internal quotation marks and citation omitted).

        Once the plaintiff has established the existence of a trust and that the defendant is a

trustee of a trust, the burden of proof shifts to the defendant. In Cappella v. Little (In re Little),

163 B.R. 497 (Bankr. E.D. Mich. 1994), the Court found that the question of burden of proof for

defalcation while acting in a fiduciary capacity was a substantive question, and thus should be

determined under state law. Id. at 502. In reviewing Michigan law, the Cappella Court found

that

        Michigan courts have repeatedly stated in various contexts that a trustee must
        account to the beneficiaries for the disposition of trust funds. . . . Failure to
        properly so account is, by definition, a defalcation.

                It has been stated that the beneficiary has the initial burden of proving the
        existence of a fiduciary duty and the trustee’s failure to perform it . . . [T]he
        burden then shifts to the trustee . . . to prove it acted with . . . good faith . . . and
        made full disclosure of all facts related to the transactions at issue. . . . [T]he mere
        failure to account establishes a loss.

                Since trustees have a duty to account under Michigan law, it is only

                                                    6



  16-03034-dof       Doc 64      Filed 06/02/17      Entered 06/02/17 10:20:00          Page 6 of 11
       logical that the Debtor, a statutory trustee, must prove that no defalcation
       occurred – i.e., that he be required to account for the trust funds he received. . . .
       [T]he Michigan Supreme Court has stated that where a trustee is called upon in a
       court of equity to account for the funds received by him as trustee, . . . the duty
       rests upon him to so account, and the burden of proof is upon him to establish the
       correctness of the account.

Id. at 500-01 (internal quotation marks and citations omitted).

       The Sixth Circuit Court of Appeals has held that defalcation for purposes of § 523(a)(4)

“occurs through the misappropriation or failure to properly account for those trust funds” by a

fiduciary. Garver, 116 F.3d at 180 (citation omitted). It requires a “pre-existing fiduciary

relationship.” Patel, 565 F.3d at 968.

       In Bullock v. BankChampaign, N.A., 133 S. Ct. 1754 (2013), the Supreme Court decided

the level of intent required for defalcation under § 523(a)(4):

       [W]here the conduct at issue does not involve bad faith, moral turpitude, or other
       immoral conduct, the term [defalcation] requires an intentional wrong. We
       include as intentional not only conduct that the fiduciary knows is improper but
       also reckless conduct of the kind that the criminal law often treats as the
       equivalent. . . . Where actual knowledge of wrongdoing is lacking, we consider
       conduct as equivalent if the fiduciary consciously disregards (or is willfully blind
       to) a substantial and unjustifiable risk that his conduct will turn out to violate a
       fiduciary duty. That risk must be of such a nature and degree that, considering
       the nature and purpose of the actor’s conduct and the circumstances known to
       him, its disregard involves a gross deviation from the standard of conduct that a
       law-abiding person would observe in the actor’s situation.

Id. at 1759-60 (internal quotation marks and citation omitted).

       B. Collateral Estoppel

       While collateral estoppel is applicable in bankruptcy dischargeability proceedings, see

Grogan v. Garner, 498 U.S. 279, 248, 111 S. Ct. 654, 658, 112 L. Ed. 2d 755 (1991), a

bankruptcy court must determine whether applicable state law would give collateral estoppel

effect to the state court judgment. Bay Area Factors v. Calvert (In re Calvert), 105 F.3d 315,

                                                 7



  16-03034-dof      Doc 64      Filed 06/02/17    Entered 06/02/17 10:20:00         Page 7 of 11
317 (6th Cir. 1997). Under Michigan law, collateral estoppel has been defined by the Michigan

Supreme Court:

       Collateral estoppel precludes the relitigation of an issue in a subsequent, different
       cause of action between the same parties where the prior proceeding culminated
       in a valid, final judgment and the issue was 1) actually litigated and 2) necessarily
       determined.

People v. Gates, 434 Mich. 146, 154-55, 452 N.W.2d 627, 630 (1990). An issue may be

considered “actually litigated” for collateral estoppel determinations if it “is put into issue by the

pleadings, submitted to the trier of fact, and determined by the trier of fact.” A trial is not

necessarily required. Latimer v. Mueller & Son, Inc., 149 Mich. App. 620, 640-41, 386 N.W.2d

618, 627 (1986). If an issue is essential to the judgment, it is “necessarily determined.” Gates,

434 Mich. at 158.

       “An issue is ‘actually litigated’ if it ‘is put into issue by the pleadings, submitted to the

trier of fact, and determined by the trier of fact.’” Cresap v. Waldorf (In re Waldorf), 206 B.R.

858, 863 (Bankr. E.D. Mich. 1997) (citing Latimer v. Mueller & Son, Inc., 386 N.W.2d 618, 627

(Mich. Ct. App. 1986)). “For collateral estoppel purposes, an issue may be ‘actually litigated’

without a trial.” Id. (citing, inter alia, Detroit v. Qualls for the proposition that summary

disposition decision qualified as “actually litigated”). Thus, parties “actually litigate[ ]” an issue

by submitting to a Michigan state court on a summary disposition. Any issue submitted is

“necessarily determined” by an order stating the court’s decision on the motion. Id.

                                              Analysis

       The Court has considered all pleadings in this matter, including all attached exhibits, as

well as the DVDs of hearings before the Probate Court submitted to this Court for review. For

the reasons stated below, this Court concludes that Plaintiffs have failed to meet their burden of

                                                  8



  16-03034-dof      Doc 64      Filed 06/02/17     Entered 06/02/17 10:20:00         Page 8 of 11
proof by a preponderance of the evidence based upon the record before it. While the Court

recognizes and appreciates the efforts of Plaintiffs and their counsel to narrow the issues and

perhaps avoid a trial in this case, issues of fact remain as to Defendant’s alleged fraud or

defalcation while acting in a fiduciary capacity.

       It may be likely that Plaintiffs have shown that Defendant acted in a fiduciary capacity

for purposes of Section 523(a)(4), but Defendant has not admitted this fact in this action. Even if

this element is considered proven at this juncture in the case, the state court record does not

demonstrate the requisite “bad faith, moral turpitude, or other immoral conduct” demonstrating

“an intentional wrong” to conclude that fraud or defalcation was committed by Defendant.

Based upon this Court’s review of the state court pleadings and the DVDs, at most, Judge

Barkey found Defendant to be negligent in her duties and a “sloppy bookkeeper.” The

remaining findings made by Judge Barkey in the probate proceeding focused on the amount of

damages, rather than facts and conclusions concerning the liability of Defendant. Thus,

application of collateral estoppel to the state court record is inappropriate because it is

impossible to determine from that record whether the required findings of fraud and defalcation

were actually litigated and necessarily determined.

       Plaintiffs point this Court to a recent decision issued in this District by Judge McIvor:

Vizachero v. Brazieka (In re Brazieka), Case No. 16-4839, slip. op. (Bankr. E.D. Mich. Mar. 1,

2017). In that case, the bankruptcy court held that the debtor defendant’s failure to answer

requests to admit were sufficient for the plaintiff to have obtained summary disposition under

Michigan law on the Section 523(a)(2)(A) fraud issue before the court, and thus gave preclusive

effect to the consent judgment entered by the state court. Brazieka, slip. op. at 12-13. The Court


                                                    9



  16-03034-dof      Doc 64      Filed 06/02/17      Entered 06/02/17 10:20:00        Page 9 of 11
finds the facts of that case distinguishable from this case. In this case, what was served upon

Defendant in the probate court proceedings was a “Request for Admission of Genuineness of

Documents.” Defendants failure to respond to this request is the equivalent of Defendant’s

admission of such. However, unlike the Brazieka case, the admitted genuineness of these

documents does not establish fraud or defalcation while acting in a fiduciary capacity for a

finding of nondischargeability under Section 523(a)(4).

       Plaintiffs also focus on the above-referenced Medicaid Applications filled out by

Defendant, which Plaintiffs argue were fraudulently filled out by Defendant and resulted in

overpayment of benefits. First, Defendant has not admitted to having committed fraud in filling

out these applications. Second, such would not make a difference in the end as to its impact on

the probate estate because if the Medicaid benefits had not been paid, funds would have been

taken from the probate estate to pay expenses in the end, which would have resulted in the same

amount of Plaintiffs’ alleged damages to the probate estate.

                                              Conclusion

       For the reasons stated above, the Court determines that it cannot, with the record before

it, make the findings required for a determination of nondischargeability pursuant to 11 U.S.C. §

523(a)(4). The Plaintiffs have a choice to make at this juncture: Plaintiffs may rest their case,

which will result in a judgment in favor of Defendants; or Plaintiffs may request a trial date be

set for the taking of further proofs.

       The Court will schedule a telephonic status conference on June 21, 2017, at 1:30 p.m.,

to discuss how the parties wish to proceed.

Not for Publication


                                                 10



 16-03034-dof       Doc 64     Filed 06/02/17     Entered 06/02/17 10:20:00        Page 10 of 11
                                         .



Signed on June 02, 2017
                                                /s/ Daniel S. Opperman
                                              Daniel S. Opperman
                                              United States Bankruptcy Judge




                                         11



16-03034-dof   Doc 64   Filed 06/02/17   Entered 06/02/17 10:20:00   Page 11 of 11
